933 F.2d 1002Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Elmo COWDEN, Jr., Defendant-Appellant.
    No. 91-6776.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 8, 1991.Decided May 23, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Newport News.  J. Calvitt Clarke, Jr., District Judge.  (CR-86-35-NN)
      Elmo Cowden, Jr., appellant pro se.
      Robert Edward Bradenham, II, Assistant United States Attorney, Norfolk, Va., for appellee.
      E.D.Va.
      AFFIRMED.
      Before WIDENER, K.K. HALL and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Elmo Cowden, Jr., appeals from the district court's order denying his motion to correct an illegal sentence pursuant to Fed.R.Crim.P. 35(a).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Cowden, CR-86-35-NN (E.D.Va. Jan. 3, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    